                     Case 4:21-mc-00014-CFB Document 9 Filed 03/02/21 Page 1 of 1

                            United States District Court for the Southern District of Iowa

Presiding: Honorable Helen C. Adams, Chief U.S. Magistrate Judge
Case No. 4:21-mc-00014-CFB               :                     Clerk’s Court Minutes – Initial Appearance
_______________________________________________________________________________________________________________________________________

United States of America vs. Dzevad Pajazetovic
_______________________________________________________________________________________________________________________________________

Gov. Atty(s): Virginia M. Bruner                          : Indictment       Superseding Indictment       Information
Def. Atty(s): J. Keith Rigg                                : Complaint     ✔ Warrant
Court Reporter: FTR Gold                                   : Code Violation/Offense:
Interpreter: Zijo Suceska                                  : 18:3184 In the Matter of the Extradition of Dzevad
___________________________________________________________
                                                             Pajazetovic
Date: March 2, 2021                                        :
Time Start: 3:11 p.m. Time End: 3:33 p.m.                 :
_______________________________________________________________________________________________________________________________________

                                                        Initial Appearance
✔ Defendant Advised of Rights
Representation:     Appointed FPD                    Appointed CJA           ✔ Retained Counsel
Next Court Event:   Preliminary                      Arraignment               Removal Hearing
      Set for:
_______________________________________________________________________________________________________________________________________

                                                            Arraignment
Trial Scheduled for:                                      :      Advised of Charges/Maximum Penalties
Rule 16 Material due:                                     :      Indicted in True Name
Reciprocal Discovery due:                                 :        True Name:
Pretrial Motions due:                                     :      Reading of Indictment Waived
Plea Notification Deadline:                               : Plea of Not Guilty Accepted as to Ct(s):
Plea Entry Deadline:                                      :      Denied Forfeiture
_______________________________________________________________________________________________________________________________________

                                         Custody Status
  Government Moved for Detention             Detention Hearing Set:
Court Ordered Defendant: Released on Bond ✔ Detained
_______________________________________________________________________________________________________________________________________
Minutes:
Per Administrative Order No. 20-AO-4-P entered by Chief Judge John A. Jarvey on March 24, 2020, Mr.
Pajazetovic appeared at this hearing by video conference from the Polk County Jail. Retained counsel J. Keith Rigg
is present for Mr. Pajazetovic. Bosnian language skilled interpreter Zijo Suceska sworn. All parties consented to
holding this hearing via video conference. Mr. Pajazetovic advised of charges. Status Conference with counsel
only set for March 11, 2021, at 10:00 a.m. in room 460 of the U.S. District Courthouse, Des Moines, Iowa.
Government moves to unseal the case. Court grants motion. Court ordered Pajazetovic to remain detained pending
further proceedings. Court finds the hearing was conducted by reliable electronic means.




                                                                                         /s/ M. Lee
                                                                                         __________________________
                                                                                         Deputy Clerk
